

Matter of Hunt (2024 NY Slip Op 01471)





Matter of Hunt


2024 NY Slip Op 01471


Decided on March 15, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 15, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CURRAN, BANNISTER, MONTOUR, AND GREENWOOD, JJ. (Filed Feb. 26, 2024).


&amp;em;

[*1]MATTER OF RICHARD VERE HUNT, AN ATTORNEY, RESIGNOR.



MEMORANDUM AND ORDERApplication to resign for non-disciplinary reasons accepted and name removed from roll of attorneys.








